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Corvias

 

December 26, 2018

Carleen Calypso
2935 [}live Coul't #F
Fort Meade, MD 20755

Dear Ms. Calypso,

This letter is in reference to your Resident Occupancy Agreement (|ease] executed by you on
April 07, 2017. Failure to pay rent constitutes a default As of December 26, 2018 you have an
outstanding balance of $14,5 78.46 which includes S1,456.35 in late fees.

Corvias has attempted to work with you to bring this account current to no avail. Dernand for
payment of delinquent rent, plus lanuary rent of $1,830 or possession of the premises by
january 28, 2019 is hereby made.

lf you fail to make full payment in the amount of $16,408.46 by january 28. 2019 you will be
required to vacate the premises on or before that date. Cor'vias will initiate actions to take full
possession of the unit no later than Monday january 28, 2019.

This letter serves as Enal notice, please contact the Potomac office if you have questions with
regard to making payment or to arrange a time for a move-out inspection of your home on the
28th At that time all keys will need to be su rrenderecl. lf you are unable to deliver your keys
the move-out inspection will be conducted in your absence.

If you have any questions or concerns, please feel free to contact me at 41 0-672-2981.
l thank you in advance for your prompt attention to this matter.

Sincerelyr

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Christie Taylor

Resident Manager
Corvias

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5080 Ernie Pyle Street FortMeade. MD 20'."55 main: (410] 572-4570 fax: l~110| 672-8015 corviasmllltaryllving.cum

